




NO. 07-00-0587-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



SEPTEMBER 4, 2001



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ADOLPH MAZUR, JR., APPELLANT



V.



ULTRA CLEAN, INC., APPELLEE





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FROM THE COUNTY CIVIL COURT AT LAW NO. 2 OF HARRIS COUNTY;



NO. 724,520; HONORABLE GARY MICHAEL BLOCK, JUDGE



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Before BOYD, C.J., and REAVIS and JOHNSON, JJ.

Appellant Adolph Mazur, Jr. appeals from a money judgment against him for tortious interference with a business relationship. &nbsp;The clerk’s record was filed on December 21, 2000, and the reporter’s record was filed on February 15, 2001. &nbsp;That being so, appellant’s brief was due to be filed no later than March 19, 2001. &nbsp;Appellant was notified by letter dated May 14, 2001, that the brief had not been filed and, unless a response was received by May 25, 2001, the appeal would be subject to dismissal for want of prosecution. &nbsp;

On May 25, appellant filed a motion for extension of time to file his brief which was granted until July 9, 2001. &nbsp;On August 14, 2001, appellant was again notified that his brief had not been filed and that, unless a response was received by August 24, 2001, reasonably explaining that failure together with a showing that appellee had not been significantly injured due to that failure, the appeal would once again be subject to dismissal for want of prosecution. &nbsp;Tex. R. App. P. 38.8(a)(1). &nbsp;We have received no such response.

Accordingly, the appeal must be and is hereby dismissed. 



Per Curiam

Do not publish. 


